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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 STEVEN F. GARDNER, and                 )
 TAMMY L. GARDNER,                      )
                                        )
        Plaintiff,                      )
                                        )
 vs,                                    )      Case No. 17-cv-35-MJR-DGW
                                        )
 FIRST CLOVER LEAF BANK                 )
 Successor in Interest to First Federal )
 Savings and Loan Association of        )
 Edwardsville, and FIRST CLOVER         )
 LEAF FINANCIAL CORP., FIRST            )
 MID ILLINOIS BANCSHARES,               )
 INC., as Successor to First Clover     )
 Leaf Bank, FIRST MID-ILLINOIS          )
 BANK & TRUST, N.A. as Successor )
 to First Clover Leaf Bank,             )
                                        )
        Defendants.                     )

            JOINT MOTION FOR RELIEF FROM JUDGMENT OR ORDER
              PURSUANT TO FED.R.CIV.P. 60(a) AND TO RE-ENTER
                STIPULATION FOR DISMISSAL WITH PREJUDICE

       COMES NOW Plaintiffs, Steven F. Gardner and Tammy L. Gardner, and

 Defendants, First Cloverleaf Bank, First Clover Leaf Financial Corp., First Mid-

 Illinois Bancshares, Inc., and First Mid-Illinois Bank & Trust, N.A., and for their

 Joint Motion for Relief from Judgment or Order Pursuant to Fed.R.Civ.P. 60(a) and

 to Re-Enter Stipulation for Dismissal with Prejudice, state as follows:

       1.     The Parties settled this matter and on September 13, 2017 filed a

 Stipulation of Dismissal. See Doc. 31.

       2.     The Stipulation of Dismissal inadvertently did not include a request

 that the dismissal be with prejudice.


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       3.       On September 15, 2017, the Court entered an Order stating that the

 Stipulation for Dismissal “effected the dismissal of this suit, without prejudice.”

 See Doc. 32.

       4.       The Parties now move jointly pursuant to Rule 60(a) for relief from the

 September 13, 2015 Stipulation for Dismissal and September 15, 2017 order and

 request that the Court correct the Stipulation for Dismissal by re-entering the

 Stipulation for Dismissal with prejudice and order of dismissal with prejudice. A

 copy of the proposed Stipulation for Dismissal with prejudice has been submitted to

 the Court pursuant to the procedures set forth in Local Rule 15.1.

       5.       Plaintiffs request that, to the extent necessary, this honorable Court

 consider this portion of this motion as a voluntary dismissal with prejudice

 pursuant to 41(a)(1)(A)(i) with each party is to bear its own costs of suit.

       WHEREFORE, Plaintiffs, Steven F. Gardner and Tammy L. Gardner, and

 Defendants, First Cloverleaf Bank, First Clover Leaf Financial Corp., First Mid-

 Illinois Bancshares, Inc., and First Mid-Illinois Bank & Trust, N.A., pray that this

 Honorable Court grant their Joint Motion for Relief of Judgment or Order Pursuant

 to Fed.R.Civ.P. 60(a) and to Re-Enter the proposed Stipulation for Dismissal with

 Prejudice, correct the order of dismissal of this action to reflect a dismissal with

 prejudice with each party to bear its own costs of suit, and for such further relief as

 this honorable Court deems just and proper.

                                   Respectfully submitted,

                                   By:          s/ Thomas R. Ysursa
                                                Thomas R. Ysursa #6257701


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                                    By: __s/ David L. Antognoli (with consent)______
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                                CERTIFICATE OF SERVICE

        I hereby certify that on January 19, 2018, I electronically filed this document
 with the Clerk of the Court using the CM/ECF system which will send notification
 to parties of record

                                                     s/ Tonya Loehring




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